                          No. 24-12444-G

           UNITED STATES COURT OF APPEALS
             FOR THE ELEVENTH CIRCUIT

                     STATE OF ALABAMA, et al.,
                                   Plaintiffs-Appellants,
                                   v.
               U.S. SECRETARY OF EDUCATION, et al.,
                                   Defendants-Appellees.


            Appeal from the U.S. District Court for the
      Northern District of Alabama, No. 7:24-cv-533 (Axon, J.)

           REPLY IN SUPPORT OF MOTION FOR
             INJUNCTION PENDING APPEAL


Steve Marshall                          Cameron T. Norris
 Attorney General                       Thomas S. Vaseliou
Edmund G. LaCour Jr.                    C’Zar Bernstein
 Solicitor General                      CONSOVOY MCCARTHY PLLC
Office of the Attorney General          1600 Wilson Boulevard, Suite 700
State of Alabama                        Arlington, VA 22209
501 Washington Avenue                   (703) 243-9423
P.O. Box 300152                         cam@consovoymccarthy.com
Montgomery, Alabama 36130-0152
Telephone: (334) 242-7300               [Additional counsel listed at end]
Fax: (334) 353-8400
Edmund.LaCour@AlabamaAG.gov

                    Counsel for Plaintiffs-Appellants
                   No. 24-12444-G, Alabama v. U.S. Sec’y of Educ.

            CERTIFICATE OF INTERESTED PERSONS
      Per Circuit Rule 26.1, Appellants certify that the CIP in their initial motion, as

modified by the CIPs of Appellees and amici, are complete.

Dated: August 7, 2024                        /s/ Cameron T. Norris
                                            Counsel for Plaintiffs-Appellants




                                       C-1 of 1
                                            TABLE OF CONTENTS
Certificate of Interested Persons ........................................................................................ C-1
Introduction & Summary of Argument .................................................................................1
Argument ....................................................................................................................................1
     I.         Plaintiffs will likely win. ..........................................................................................2
                A.         §106.31(a)(2) and §106.10 ...........................................................................2
                B.         §106.2 .............................................................................................................4
                C.         “Forfeiture” ...................................................................................................6
     II.        The other factors favor Plaintiffs. .........................................................................7
     III.       This Court’s relief should mirror its administrative injunction. .......................9
Conclusion ............................................................................................................................... 11
Certificate of Compliance ..................................................................................................... 13
Certificate of Service .............................................................................................................. 13




                                                                       i
          INTRODUCTION & SUMMARY OF ARGUMENT
       The Department’s Title IX rule is currently enjoined in all 26 States that chal-

lenged it. Why should it suddenly (and fully) go into force in only four of those States

before its legality is resolved? The Department cannot justify that arbitrary disparity.

These four States didn’t uniquely “delay” (an argument the Department won’t defend).

These States didn’t have uniquely inferior briefs or evidence (an argument the Depart-

ment didn’t make below and won’t try to prove here). And these States didn’t face

uniquely unfavorable precedent. The opposite: Adams forecloses the rule’s treatment of

bathrooms, and it fatally undermines the rule’s definition of sex discrimination. Hence

why the other courts that froze the rule cited Adams as persuasive. E.g., Tennessee v.

Cardona, 2024 WL 3453880, at *2 (6th Cir.).

       This circuit should be the last place where the Department can immediately en-

force its rule, not the first and only outlier. This Court should preserve the status quo

by converting its administrative injunction into an injunction pending appeal.

                                     ARGUMENT
       The Department agrees that the standards for injunctions pending appeal, stays

pending appeal, and preliminary injunctions are the same. Opp.8. So the nine injunc-

tions and stays that it’s lost so far are directly on point. Mot.1-2 & n.1. Like those courts,

this Court should pause the rule while the parties litigate “this important case.” Adams

v. Sch. Bd. of St. Johns Cnty., 3 F.4th 1299, 1326 (Pryor, C.J., dissenting), vacated, 57 F.4th

791 (11th Cir. 2022) (en banc).


                                              1
I.     Plaintiffs will likely win.
       A.     §106.31(a)(2) and §106.10
       As the Department seems to anticipate, Opp.22, it cannot possibly avoid an in-

junction against §106.31(a)(2). Under Adams, Title IX cannot force schools to let indi-

viduals “use restrooms consistent with their gender identity.” Opp.1. The Department

says Adams only “assumed” that the longstanding regulation on bathrooms (which al-

lows strict sex separation) is a valid interpretation of the statutory carveout for living

facilities. Opp.14. But Adams held it, 57 F.4th at 815, and the rule concedes that “Adams

… held” it, 89 FR 33,820-21. Regardless, the Department ignores Adams’ alternative

holding under the Spending Clause. See 57 F.4th at 815-17. Schools were never given

sufficient “notice” that strictly sex-separated bathrooms could “violat[e] Title IX.” Id.

at 816. The Department cannot impose that result by reclassifying what Title IX “au-

thoriz[es]” as prohibited “discrimination” against transgender individuals—a move that

Adams also rejects. Id. at 814 n.7; accord id. at 814 (rejecting the “dual protection” this

reading would give transgender individuals). Tellingly, the Department’s only authority

approving its approach to bathrooms is a Seventh Circuit decision that concedes it

“split[s]” with “Adams.” A.C. v. Metro. Sch. Dist., 75 F.4th 760, 770-71 (2023).

       While Adams forecloses the rule’s treatment of bathrooms, its reasoning also

dooms the rule’s definition of sex discrimination. The Department doesn’t dispute that,

under Adams, it cannot import gender identity into Title IX unless it surmounts “the

Spending Clause’s required clear-statement rule.” 57 F.4th at 815-16. Though it claims



                                            2
that Title IX is “unambiguous,” Opp.11, that’s plainly false. The Sixth Circuit, seven

district courts, and 23 state amici disagree. Mot.1 n.1; CA11-Doc.26-1. Indeed, Bostock’s

application to Title IX has “split” the circuits. Louisiana v. DOE, 2024 WL 2978786, at

*10 & n.49 (W.D. La.). In this circuit, binding caselaw not only refuses to extend Bostock

to the Constitution. Cf. Opp.11. But its reasoning repels any attempt to apply Bostock to

“a different law” than Title VII or “a different factual context” than employment.

Eknes-Tucker v. Governor, 80 F.4th 1205, 1228-29 (11th Cir. 2023); accord Adams, 57 F.4th

at 808 (education and employment are different).

      The Department largely ignores Adams’ on-point reasoning about “Title IX’s

general prohibition against sex discrimination.” 57 F.4th at 816. Even if the Department

were correct that its bathroom regulation interprets that general prohibition, Opp.14-

15, Adams holds that this longstanding regulation allows strict sex separation—powerful

evidence that Title IX’s original meaning rejects Bostock, Mot.8-9. The Department also

ignores Adams’ concern that importing Bostock would contradict the longstanding regu-

lation on sports. Mot.9. And it barely addresses footnote 7, where Adams explains how

importing “Bostock” would make a mess of Title IX’s statutory carveouts, 57 F.4th at

814 n.7, which are “unlike” anything in Title VII, id. at 811. Under the Department’s

view, Congress banned males who identify as females from attending Girls State or

joining a sorority, 20 U.S.C. §1681(a)(6)-(7), but gave those males a federal right to

shower and undress with females. Opp.12-13. No rational Congress would draw those

lines. The carveouts instead reflect Congress’ judgment that males and females are not

                                            3
“similarly situated” across the educational context, Mot.9, a point that the Department’s

focus on “but-for causation” simply misses, Opp.10.


       B.     §106.2
       Though the Department thinks it’s “not bound” by the Supreme Court’s defini-

tion of harassment in Davis, Opp.6, that argument will likely fail. Now that Chevron is

overruled, agencies cannot interpret statutes differently from courts. Loper Bright v. Rai-

mondo, 144 S.Ct. 2244, 2273 (2024). Courts declare a statute’s “single” meaning, id. at

2266; and if that meaning is narrowed to avoid some concern, that “limiting construc-

tion” does not disappear in contexts where that concern isn’t present, Clark v. Martinez,

543 U.S. 371, 380 (2005). So it doesn’t matter whether Davis interpreted Title IX “‘in

the context of a private damages action.’” Opp.16. What matters is that Davis inter-

preted Title IX. “Davis … relied on the text of Title IX,” especially the word “‘discrim-

ination.’” Jackson v. Birmingham BOE, 544 U.S. 167, 173-74 (2005). It had to, since only

the “‘clear terms of the statute’” could have satisfied the Spending Clause. Id. at 183.

Davis used Title IX’s terms to define when students’ harassment becomes the school’s

discrimination, and the “very real limitations” in its definition honor “practical realities”

that “Congress” wouldn’t have ignored. 526 U.S. at 651-53. The Department cannot

“impose more sweeping liability than [Davis] read[s] Title IX to require” by regulation,

any more than private litigants can by lawsuit. Id. at 652; see Oklahoma v. Cardona, 2024

WL 3609109, at *7-8 (W.D. Okla.).



                                             4
       Separately, the harassment definition likely violates the First Amendment. The

Department doesn’t dispute that schools (including public universities) must adopt the

rule’s broader definition and punish students who violate it. Mot.10-11. The Depart-

ment also doesn’t deny that its definition reaches speech, or that its coverage of “offen-

sive” and “discriminat[ory]” harassment is viewpoint-discriminatory, 34 C.F.R. §106.2;

see Mot.12. So even if the harassment policy that was enjoined in Cartwright were

broader, but see R.7-1 at 44, 38-39; R.38 at 18-19 (it wasn’t), both policies are facially

unconstitutional, Cartwright, 32 F.4th at 1126. This problem isn’t theoretical. The De-

partment never denies that its definition punishes students for refusing to use “pre-

ferred pronouns,” Mot.12, itself a fatal constitutional flaw, Tennessee v. Cardona, 2024 WL

3019146, at *15-27 (E.D. Ky.).

       The Department cannot take refuge in its pre-2020 guidance or in Title VII. Cf.

Opp.15-18. Though Davis cited that guidance for two unrelated points, 526 U.S. at 647-

48, 651, the Court never approved its definition of harassment, see R.38 at 18. In fact,

Davis adopted a narrower definition. Its definition was intentionally narrower than Title

VII, too, because “schools are unlike the adult workplace.” 526 U.S. at 651. Though the

Department says “no authority” suggests these broader standards “contravened the

First Amendment,” Opp.16-17, the Department ignores its own finding that schools

who used these standards “infringed on constitutionally protected speech,” 85 FR

30,164-65 & nn.738-39; accord id. at 30,151-52, 30,162-63.




                                            5
      C.     “Forfeiture”
      The Department’s opposition puts to rest the mystifying charge that Plaintiffs

didn’t adequately brief arguments below. The Department doesn’t argue that the district

court independently denied a preliminary injunction on this ground. Mot.13. And the

Department doesn’t argue that forfeiture matters on appeal, apparently agreeing that it

forfeited forfeiture, that the district court misapplied forfeiture, and that all relevant

issues were reached and preserved anyway. Mot.13-14; see Merritte v. Kessel, 561 F. App’x

546, 548 & n.1 (7th Cir. 2014) (district court abused its discretion by giving plaintiff’s

submissions a “cramped reading” where the government “‘waived waiver’ by not argu-

ing it”). As the Department concedes, the district court complained about the briefs

but “nevertheless addressed plaintiffs’ challenges” on the merits. Opp.6.

      Though the Department sometimes quotes the district court, it never tries to

defend the notion that Plaintiffs forfeited any claim. It never cites its own briefs below,

where it understood and responded to Plaintiffs’ arguments. Mot.7-8, 10, 12-14. And

though it wants this Court to think the “other” cases challenging the rule were different,

Opp.2, it doesn’t cite those dockets, show how those plaintiffs briefed the issues, or

discuss what evidence those plaintiffs submitted. Plaintiffs compare favorably. E.g., Ok-

lahoma, No. 5:24-cv-461 (W.D. Okla.) (no declarations submitted from state officials).

      Plaintiffs are confident that, if this Court looked at their briefs below, it would

be as confused as they were with the district court’s criticisms. Even here, the Depart-

ment doesn’t suggest that Plaintiffs forfeited their challenges to §106.10 and §106.2. See


                                            6
Opp.9-11, 15-18. And though it says Plaintiffs “never asserted below that §106.31(a)(2)

is contrary to law,” Opp.13, Plaintiffs repeatedly asserted that the rule’s treatment of

bathrooms is contrary to Adams, e.g., R.7-1 at 21-25, 15; R.38 at 8, 10-12, 16; R.34 at 3;

see also Tr.53:6 (GOVERNMENT: “Plaintiffs talk a lot about bathrooms and locker

rooms”). The Department agreed below, R.24 at 24, spending four pages responding

to Plaintiffs’ “statutory” challenges to §106.31(a)(2), R.24 at 25-28. True, Plaintiffs think

the rule addresses bathrooms through a combination of §106.10 and §106.31(a)(2), see

R.7-1 at 14, while the Department thinks the rule addresses bathrooms only in

§106.31(a)(2), see R.58 at 46-48, 56. But Plaintiffs didn’t forfeit anything by refusing to

accept the Department’s framing. The rule, after all, says that §106.31(a)(2) gives “ex-

amples” of the conduct that §106.10 “prohibit[s].” 89 FR 33,528.


II.    The other factors favor Plaintiffs.
       Though one irreparable injury would be enough, Plaintiffs have at least three.

The Department wisely abandons the district court’s concerns about “delay.” Mot.17.

And the arguments that the Department does make misstate the law, record, or both.

       Without continued injunctive relief, the rule will inflict irreparable compliance

harms. Though the Department mentions Plaintiffs’ “declarations,” Opp.19, it contin-

ues to ignore that its own rule concedes and quantifies the States’ compliance burdens.

Mot.4-5, 16-17. Far from a “cent,” Opp.20, even the rule puts the costs at $14.3 million

dollars—plus lost time, added investigations, and more litigation. Mot.4-5. Plaintiffs



                                             7
confirmed these harms in their ten declarations from state officials, but no testimony

was even needed. Invalid federal regulations “‘almost always’” produce irreparable com-

pliance costs. Rest. L. Ctr. v. DOL, 66 F.4th 593, 597 (5th Cir. 2023). And this Court has

already rejected the Department’s argument that “[o]rdinary compliance costs” aren’t

irreparable. Georgia v. President, 46 F.4th 1283, 1302 (11th Cir. 2022). What matters is the

costs’ unrecoverability, which the Department concedes. Id.

       The rule will inflict sovereign harms too. The Department concedes that it pur-

ports to preempt, at least, the bathroom laws in Alabama and Florida and the harass-

ment laws in Alabama and Georgia. R.58 at 119, 121; R.1 ¶96 (Ga. Code Ann. §20-4-

11.1(a)(5)). Though preemption harms might not count when the agency likely “had the

authority to issue the [challenged] rule,” Florida v. HHS, 19 F.4th 1271, 1292 (11th Cir.

2021), the Department likely lacks that authority here.

       The rule will also inflict constitutional harms. The Department doesn’t deny that

chilled speech is famously irreparable. Mot.15. Though it says Plaintiffs “do not identify

any individual” whose speech will be chilled, Opp.19, the Department never made that

“identification” argument below. Had it, Plaintiffs would have highlighted their associ-

ations’ unrebutted declarations, which identify specific members, reveal what they want

to say, and explain why that speech will be chilled once their schools must adopt the

rule’s harassment definition. E.g., R.7-13 ¶¶13-18; R.7-12 ¶¶14-23; R.7-11 ¶¶10-14, ¶20.

No more “identification” was required. AAER v. Fearless Fund, 103 F.4th 765, 772-73

(11th Cir. 2024).

                                             8
      As for the other factors, the Department abandons the notion that temporary

injunctions against federal regulations inflict “sovereign” harm. Mot.17-18. Though it

claims an interest in “preventing discrimination,” Opp.20, the Department has no in-

terest in preventing discrimination “unlawfully,” Ala. Ass’n of Realtors v. HHS, 594 U.S.

758, 766 (2021). And the added risk of discrimination during an expedited appeal is

“speculative.” Odebrecht Const. v. FDOT, 715 F.3d 1268, 1288 (11th Cir. 2013). The De-

partment denies that the States will discriminate, see Opp.21-22, and it cites no evidence

that the current rules couldn’t stop discrimination, Mot.18. True, an injunction will let

schools keep males out of female spaces. But far from discrimination, that result fur-

thers an “important governmental objective” and protects “privacy” interests of “‘con-

stitutional’” magnitude. Adams, 57 F.4th at 804-05.


III. This Court’s relief should mirror its administrative injunction.
      This Court’s injunction should be state-specific and rulewide. The Department

again seeks an injunction limited to “§106.32(a)(2)” and “§106.2 as applied to … gender

identity.” Opp.22. When the Department asked for that limitation in its opposition to

the administrative injunction, see CA11-Doc.13 at 15, this Court refused. And when the

Department asked for that limitation in its various stay motions, every court refused.

As Plaintiffs explained, relying on the Fifth and Sixth Circuits, the Department’s re-

quested limitation has “three” main defects. Mot.18-19. The Department’s opposition

addresses none of them.



                                            9
       The Department wrongly assumes that only two provisions of the rule are inva-

lid. But Plaintiffs will argue on appeal (when they get more words) that other provisions

are unlawful, Mot.4 n.2, and that the whole rule is arbitrary and capricious, e.g., Tennessee,

2024 WL 3019146, at *31-36. And Plaintiffs proved here that the whole rule falls be-

cause §106.10 is unlawful and inseverable. Mot.18-19. As Chief Judge Sutton explained,

that definition is fully illegal; it controls the scope of every other substantive provision;

and the Department never contemplated or justified the rule without it. Tennessee, 2024

WL 3453880, at *3-4. The Fifth and Sixth Circuits rightly faulted the Department for

failing to argue otherwise, after the Department gave the point only a few lines of brief-

ing with generic citations to the rule’s severability provisions. Id. at *4; Louisiana, 2024

WL 3452887, at *1-2. Given another chance, the Department does the exact same thing

here. See Opp.21. This Court shouldn’t do the quintessentially executive work of “re-

writing” the Department’s rule for it, especially in this emergency posture. Louisiana,

2024 WL 3452887, at *2. For example, enjoining §106.32(a)(2) but not §106.10 could

have unanticipated consequences by eliminating the one provision that exempts sports

from the rule’s importation of gender identity. See 34 C.F.R. §106.31(a)(2) (excepting

§106.41(b)).

       The Department’s approach is also inequitable. Though it keeps insisting that

Plaintiffs “challenge” only certain provisions of the rule, e.g., Opp.21, what it means is

that Plaintiffs identified certain provisions as illegal. But Plaintiffs challenged, and are

injured by, the whole rule. Mot.19-20. The rule’s inseverable training, recordkeeping,

                                             10
notice, and other mandates all inflict compliance costs on Plaintiffs, cf. Opp.21, and

those costs will grow once §106.10 expands Title IX’s overall scope. They will grow

even costlier if this Court lets a confusing, partial, temporary version of the rule take

effect, all of a sudden, after school has started—as the Fifth and Sixth Circuits held,

Plaintiffs explained, and the Department never refutes. Mot.15, 19. Only rulewide relief

would do what a temporary injunction is supposed to do: preserve the status quo while

the parties litigate. Louisiana, 2024 WL 3452887, at *2.


                                  CONCLUSION
      Defendants should be enjoined pending appeal from enforcing the rule in Ala-

bama, Florida, Georgia, and South Carolina.




                                           11
Dated: August 7, 2024                 Respectfully submitted,

Steve Marshall                        /s/ Cameron T. Norris
 Attorney General                     Cameron T. Norris
s/ Edmund G. LaCour Jr.               Thomas S. Vaseliou
Edmund G. LaCour Jr.                  C’Zar Bernstein
 Solicitor General                    Consovoy McCarthy PLLC
Office of the Attorney General        1600 Wilson Blvd., Ste. 700
State of Alabama                      Arlington, VA 22209
501 Washington Avenue                 cam@consovoymccarthy.com
P.O. Box 300152                       tvaseliou@consovoymccarthy.com
Montgomery, Alabama 36130-0152        czar@consovoymccarthy.com
Telephone: (334) 242-7300
                                      Counsel for Private Plaintiffs
Fax: (334) 353-8400
Edmund.LaCour@AlabamaAG.gov
                                      Christopher M. Carr
Counsel for Alabama                    Attorney General
                                      s/ Stephen J. Petrany
Ashley Moody                          Stephen J. Petrany
 Attorney General                      Solicitor General
s/ Henry C. Whitaker                  Office of the Attorney General
Henry C. Whitaker                     40 Capitol Square, SW
 Solicitor General                    Atlanta, Georgia 30334
James H. Percival                     (404) 458-3408
 Chief of Staff                       spetrany@law.ga.gov
Office of the Attorney General
                                      Counsel for Georgia
The Capitol, Pl-01
Tallahassee, Florida 32399-1050
                                      Alan Wilson
(850) 414-3300
                                        Attorney General
(850) 410-2672 (fax)
                                      s/ Joseph D. Spate
henry.whitaker@ myfloridalegal.com
                                      Joseph D. Spate
Counsel for Florida                     Assistant Deputy Solicitor General
                                      1000 Assembly Street
                                      Columbia, SC 29201
                                      (803) 734-3371
                                      josephspate@scag.gov
                                      Counsel for South Carolina



                                     12
                    CERTIFICATE OF COMPLIANCE
      This motion complies with Rule 27 because it contains 2,591 words, excluding

the parts that can be excluded. It also complies with Rule 32(a)(5)-(6) because it’s pre-

pared in a proportionally spaced face using Microsoft Word 2016 in 14-point Gara-

mond font (with 16-point and 15-point headers).

Dated: August 7, 2024                                   /s/ Cameron T. Norris


                        CERTIFICATE OF SERVICE
      I e-filed this brief, which will email everyone requiring notice.

Dated: August 7, 2024                                   /s/ Cameron T. Norris




                                           13
